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UNITED STATES DISTRICT COURT

Oe DISTRICT OF ARIZONA _
Ae United States Of America Case No.: a0 - YI | AS

V. CRIMINAL COMPLAINT
Christopher Michael Fiorentino

I, the undersigned complainant, being duly sworn, state that the following is true and correct to
the best of my knowledge and belief:

On or about the date of October 6, 2020 in the District of Arizona, the defendant violated Title
26, United States Code, Sections 5841, 5861(d), and 5871, an offense described as follows:

See Attachment A — Description of Count

I further state that I am a Special Agent from the Bureau of Alcohol, Tobacco, Firearms and
Explosives and that this complaint is based on the following facts:

See Attachment B - Statement of Probable Cause Incorporated By Reference Herein.

Continued on the attached sheet and made a part hereof: Xl Yes C1 No
AUTHORIZED BY: Justin Oshana, AUSA

SA Jacob Gibbons A KVWb mn

Name of Complainant Signature of Complainant

Sworn to before me telephonically

13010 at Phoenix, Arizona
Date | City and State
“44
HONORABLE MICHELLE H. BURNS VY) « S
United States Magistrate Judge A Voy Le Winn

Name & Title of Judicial Officer - Signature of Judicial Officer

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ATTACHMENT A
DESCRIPTION OF COUNT

‘Count 1
On or about October 6, 2020, in the District of Arizona, the defendant, CHRISTOPHER
MICHAEL FIORENTINO, knowingly received and possessed firearms, that is: a Vector Arms
Uzi-Mini, serial number MC07659; a Heckler and Koch MP5K, serial number unknown; a
Stoner Rifle SR-15, serial number KM0170983; and a Heckler and Koch SP5, serial number
271-005537, all rifles having a barrel or barrels of less than 16 inches in length, not registered
to him in the National Firearms Registration and Transfer Record.

In violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.

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ATTACHMENT B —- STATEMENT OF PROBABLE CAUSE

I, Jacob Gibbons, being first duly sworn, hereby depose and state as follows:

1. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF), United States Department of Justice, and have been since June 2018.
I am presently a member of the ATF Phoenix Field Division’s Group I. As an ATF
agent, my duties and responsibilities include conducting criminal investigations of
individuals and entities for possible violations of federal laws, particularly those laws
found in Title 18, Title 26, and Title 21 of the United States Code (U.S.C.). Ihave
previously participated in investigations which resulted in the arrests, searches, and
seizures of individuals and property. In the course of my career with ATF, I have
participated in or received training in the use of cooperating informants, undercover
agents, pen register/trap and trace devices, video surveillance, GPS tracking devices,
search warrants, and audio surveillance, among other law enforcement techniques.
Additionally, I have participated in controlled purchases of narcotics and/or firearms
from targets of law enforcement investigations. Prior to my employment with ATF, I
was employed with the Blount County Sheriffs Office in Maryville, Tennessee as a
Deputy Sheriff from December 2012 through May 2018. During my employment with
the Sheriff's Office I served in several positions, including Patrol Deputy, School
Resource Officer, Firearms Instructor, and SWAT Operator, and participated in a wide
range of investigations regarding narcotics possession and distribution, violent crimes,

and firearm-related crimes.

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2. The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other agents and witnesses. This affidavit
is intended to show merely that there is sufficient probable cause for the complaint and
does not set forth all of my knowledge about this matter.

3. On July 8, 2019, I was contacted by ATF Special Agent William Grimmer
from the Tampa Field Division, in reference to a criminal referral from Shooters World,
an FFL in Tampa, Florida. Shooters World notified Agent Grimmer that they had
received a Maadi Co AK-style rifle, serial number 72275, that they suspected qualified as
a “short barreled rifle,” under the National Firearms Act during a transfer from another
FFL, Howard’s Ace Hardware, LLC located in Phoenix, Arizona. That firearm was sold
on GunBroker.com by “Mr Big Koch.” Seller and purchaser information were obtained
from GunBroker.com documents contained in the United States Postal Service package
and identified “Mr Big Koch” as Christopher FFORENTINO, 5451 E. Buena Vis,

Paradise Valley, Arizona 85253, (480) 686-6969, cmtino@hotmail.com.

4, After further investigation, ATF concluded that FFORENTINO was
involved in trafficking firearms without a license. On October 2, 2020, multiple search and
seizure warrants were issued for properties, vehicles, and assets related to FIORENTINO.

5. On October 6, 2020, ATF Agents executed the aforementioned search
warrants. One of the locations searched was 7162 E. Rancho Vista Drive, Unit 4013,
Scottsdale. Arizona. FIORENTINO was present in the residence, along with Dana Uldrych,

who was identified as FFORENTINO's fiancée. They were the sole occupants of the

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residence. FIORENTINO stated in a post-Miranda interview that he had approximately
100 firearms inside the residence. FFORENTINO also stated he was responsible for all
firearms-related business, not Dana Uldrych.

6. During the search of the residence, Agents located approximately 67
firearms. The following firearms were identified as meeting the definition of a firearm, as
defined in 26 U.S.C. § 5845, following measurements by ATF Agents, due to their barrel
and/or overall length:

a. Vector Arms, Uzi-Mini, 9mm caliber, SN: MC07659. Overall
length: 23.5 inches. Barrel length: 13.5 inches.

b. Heckler and Koch, MP5K, 9mm caliber, SN: N/A. Overall length:
23.25 inches. Barrel length: 6.5 inches.

c. Stoner Rifle, SR-15, SN: KM0170983. Overall length: 28.25 inches.
Barrel length: 13.5 inches.

d. Heckler and Koch, SP5, 9mm caliber, SN: 271-005537. Overall
length: 26.25 inches. Barrel length: 9 inches.

7. A query of the National Firearms Registration and Transfer Record
(NFRTR) revealed FIORENTINO did not possess valid registrations for the above-
mentioned firearms. The NFRTR maintains all registration and transfer records for
firearms classified under 26 U.S.C. § 5845 of the National Firearms Act.

8. Based upon the above facts and circumstances, I respectfully submit that

there is probable cause to believe that FIORENTINO did knowingly and unlawfully

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possess the following firearms, which were not registered to FFORENTINO in the NFRTR:
a Vector Arms, Uzi-Mini, 9mm caliber, SN: MC07659; Heckler and Koch, MP5K, 9mm
caliber, SN: N/A; Stoner Rifle, SR-15, SN: KM0170983; Heckler and Koch, SP5, 9mm
caliber, SN: 271-005537,

Respectfully submitted,

AX thnx

Jacob Gibbons

Special Agent

Bureau of Alcohol, Tobacco, Firearms and
Explosives

Subscribed and sworn to telephonically on October 7, 2020.

VY re

2 Ji, Lo-—
MICHELLE H. BURNS

UNITED STATES MAGISTRATE JUDGE

